Case 2:23-cv-00936-AMA-CMR            Document 91        Filed 11/20/24    PageID.782      Page 1
                                            of 4




 James D. Gilson (5472)
 james.gilson@dentons.com
 DENTONS DURHAM JONES PINEGAR P.C.
 111 South Main Street, Suite 2400
 Salt Lake City, UT 84111
 Telephone: (801) 415-3000

 Andrew V. Wright (11071)
 andy.wright@dentons.com
 David B. Nielson (16531)
 david.nielson@dentons.com
 DENTONS DURHAM JONES PINEGAR P.C.
 1557 W. Innovation Way, Suite 400
 Lehi, Utah 84043
 Telephone: (801) 375-6600

 Attorneys for Defendant Colliers International

                        IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF UTAH


  KATE GRANT and KARMANN KASTEN,
                                                       NOTICE OF CHANGE OF ADDRESS
  Plaintiffs,

  V.

  KEVIN LONG; MILLCREEK                                Civil No. 2:23-cv-00936
  COMMERCIAL PROPERTIES, LLC;
  COLLIERS INTERNATIONAL; BRENT                        Magistrate Judge Cecilia Romero
  SMITH; SPENCER TAYLOR; BLAKE
  MCDOUGAL; and MARY STREET,

                 Defendants.



         PLEASE TAKE NOTICE that as of November 25, 2024, Andrew V. Wright, David B.

 Nielson, and the law firm of Dentons Durham Jones Pinegar, P.C. (Lehi office) have changed

 their address. Please send all future correspondence, pleadings and papers in the above

 referenced action to the following address:


                                                  1
                                                  UC
Case 2:23-cv-00936-AMA-CMR      Document 91      Filed 11/20/24     PageID.783      Page 2
                                      of 4




            Dentons Durham Jones Pinegar, P.C.
            1557 W. Innovation Way, Suite 400
            Lehi, Utah 84043
      DATED: November 20, 2024.
                                       DENTON DURHAM JONES PINEGAR P.C.


                                       /s/ David B. Nielson
                                       James D. Gilson
                                       Andrew V. Wright
                                       David B. Nielson
                                       Attorneys for Defendant Colliers International




                                          2
                                         UC
Case 2:23-cv-00936-AMA-CMR            Document 91       Filed 11/20/24      PageID.784       Page 3
                                            of 4




                                 CERTIFICATE OF SERVICE

        I hereby certify that on this 20th day of November, 2024, a true and correct copy of the
 foregoing was served via the Court’s electronic filing to the following:

        Stephen K. Christiansen
        Joshua B. Cutler
        Randall S. Everett
        CHRISTIANSEN LAW, PLLC
        311 South State Street, Ste 250
        Salt Lake City, Utah 84111
        Attorneys for Plaintiffs

        J. Ryan Mitchell
        Christopher A. Langston
        Colby Tinney
        MITCHELL BARLOW & MANSFIELD, P.C.
        Nine Exchange Place, Ste 600
        Salt Lake City, Utah 84111
        Attorneys for Defendant Blake McDougal

        Terry E. Welch
        Bentley J. Tolk
        Rodger M. Burge
        PARR BROWN GEE & LOVELESS
        101 South 200 East, Ste 700
        Salt Lake City, Utah 84111
        Attorneys for Defendants Kevin Long, Millcreek
        Commercial Properties, LLC

        Justin T. Toth
        Maria E. Windham
        Nathan L. Jepson
        RAY QUINNEY NEBEKER
        36 South State Street, Suite 1400
        Salt Lake City, UT 84111
        Attorneys for Defendant Spencer Taylor

        Stuart H. Schultz
        STRONG & HANNI
        102 South 200 East, Ste 800
        Salt Lake City, UT 84111
        Attorney for Defendant Mary Street


                                                 3
                                                 UC
Case 2:23-cv-00936-AMA-CMR       Document 91        Filed 11/20/24   PageID.785   Page 4
                                       of 4




      John E. Keiter
      KEITER LAW, P.C.
      1064 S. North County Blvd, Ste 350
      Pleasant Grove, UT 84062
      Attorneys for Brent Smith

                                           /s/ Kim Altamriano




                                             4
                                             UC
